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 1 TARA K. McGRATH
   United States Attorney
 2 DEREK T. KO
   Assistant United States Attorney
 3 Florida Bar No. 84398
   United States Attorney’s Office
 4 880 Front Street, Room 6293
   San Diego, California 92101-8893
 5 Telephone: (619) 546-7680

 6 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
 7

 8                         UNITED STATES DISTRICT COURT

 9                       SOUTHERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               Case No.: 23-MJ-03854-MDD

11               Plaintiff,

12         v.                                NOTICE OF APPEARANCE

13   SEAN STEVENSON,

14               Defendant.

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16

17        TO THE CLERK OF COURT AND ALL PARTIES OF RECORD

18        I, the undersigned attorney, enter my appearance as lead counsel

19 for the United States in the above-captioned case.          I certify that I

20 am admitted to practice in this court or authorized to practice under

21 CivLR 83.3.c.3-4.

22        The following government attorneys (who are admitted to practice

23 in this court or authorized to practice under CivLR 83.3.c.3-4) are

24 also associated with this case, should be listed as lead counsel for

25 CM/ECF purposes, and should receive all Notices of Electronic Filings

26 relating to activity in this case:
             Name
27
                Andrew Sherwood as Co-Counsel.
28


     DTK:: 10/26/2023
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 1      Effective this date, the following attorneys are no longer

 2 associated with this case and should not receive any further Notices

 3 of Electronic Filings relating to activity in this case (if the

 4 generic “U.S. Attorney CR” is still listed as active in this case in

 5 CM/ECF, please terminate this association):

 6            Name

 7            None.

 8      Please feel free to call me if you have any questions about this

 9 notice.

10      DATED: October 26, 2023.

11                                   Respectfully submitted,

12                                   TARA K. MCGRATH
                                     United States Attorney
13

14                                   s/Derek T. Ko
                                     DEREK T. KO
15                                   Assistant United States Attorney
                                     Attorney for Plaintiff
16                                   UNITED STATES OF AMERICA

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